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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

                                  Plaintiff

          -v-

THE PREMISES AND REAL PROPERTY WITH
BUILDINGS, APPURTENANCES, AND
IMPROVEMENTS AT 132 LAKEFRONT BOULEVARD
UNIT 601, BUFFALO, NEW YORK, THAT IS, ALL
THAT TRACT OR PARCEL OF LAND, SITUATED
IN THE CITY OF BUFFALO, COUNTY
OF ERIE, STATE OF NEW YORK, AND MORE
PARTICULARLY DESCRIBED IN A CERTAIN
DEED RECORDED IN THE ERIE COUNTY
CLERK’S OFFICE IN BOOK 11275, PAGE 6575;

THE PREMISES AND REAL PROPERTY WITH
ALL BUILDINGS, APPURTENANCES, AND
IMPROVEMENTS, LOCATED AT 465 BRICKELL
AVENUE, UNIT 5102, MIAMI, FLORIDA, THAT IS,
ALL THAT TRACT OR PARCEL OF LAND,
SITUATED IN THE CITY OF MIAMI, MIAMI-DADE
COUNTY AND STATE OF FLORIDA, AND MORE
PARTICULARLY DESCRIBED IN A CERTAIN DEED
RECORDED IN MIAMI-DADE COUNTY RECORDER’S
OFFICE IN BOOK 30503, PAGE 4921;

THE PREMISES AND REAL PROPERTY WITH
ALL BUILDINGS, APPURTENANCES, AND
IMPROVEMENTS, LOCATED AT 1201 20TH STREET,
UNIT 209, MIAMI BEACH, FLORIDA, THAT IS,
ALL THAT TRACT OR PARCEL OF LAND,
SITUATED IN THE CITY OF MIAMI BEACH, MIAMI-DADE
COUNTY AND STATE OF FLORIDA, AND MORE
PARTICULARLY DESCRIBED IN A CERTAIN DEED
RECORDED IN MIAMI-DADE COUNTY RECORDER’S
OFFICE IN BOOK 30817, PAGE 3415.

                            Defendants.


                VERIFIED COMPLAINT FOR FORFEITURE
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       The United States of America, by its attorneys, James P. Kennedy, Jr., United States

Attorney for the Western District of New York, Grace M. Carducci, Assistant United States

Attorney, of counsel, for its verified complaint herein alleges as follows:

       1.       This is an action in rem for the forfeiture of:

            •   The premises and real property with buildings, appurtenances, and
                improvements at 132 Lakefront Boulevard, Unit 601, Buffalo, New York, that
                is, all that tract or parcel of land, situate in the City of Buffalo, County of
                Erie, State of New York, and more particularly described in a certain deed
                recorded in the Erie County Clerk’s Office in Book 11275, Page 6575. Further
                described in the attached Exhibit 1;

            •   The premises and real property with all buildings, appurtenances, and
                improvements, located at 465 Brickell Avenue, Unit 5102, Miami, Florida,
                that is, all that tract or parcel of land, situated in the City of Miami, Miami-
                Dade County and State of Florida, and more particularly described in a
                certain deed recorded in Miami-Dade County Recorder’s Office Book 30503,
                Page 4921. Further described in the attached Exhibit 2; and

            •   The premises and real property with all buildings, appurtenances, and
                improvements, located at 1201 20th Street, Unit 209, Miami Beach, Florida,
                that is, all that tract or parcel of land, situated in the City of Miami Beach,
                Miami-Dade County and State of Florida, and more particularly described in
                a certain deed recorded in Miami-Dade County Recorder’s Office in Book
                30817, Page 3415. Further described in the attached Exhibit 3.


       Collectively, the “defendant properties.”

       2.       The defendant properties are subject to forfeiture under the provisions of Title

18, United States Code, Section 981(a)(1)(A) and Title 19, United States Code, Section 1621,

as property involved in money laundering transactions or traceable to such property, and Title

18, United States Code, Section 981(a)(1)(C), Title 28, United States Code, Section 2461(c)

and Title 19, United States Code, Section 1621, as any property, real or personal, which

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constitutes or is derived from proceeds traceable to any offense constituting “specified

unlawful activity” (as defined in section 1956(c)(7) of this title and hereinafter referred to as

“SUA”), to include violations of Title 18, United States Code, Section 1347 (health care

fraud).


          3.      The jurisdiction of this Court is invoked pursuant to Title 28, United States

Code, Sections 1345, 1355, and 1395. Venue is properly premised in the Western District of

New York pursuant to Title 28, United States Code, Section 1395.

                                                 FACTS


          4.      The facts and circumstances supporting the forfeiture of the defendant

properties are contained in the Affidavit of Federal Bureau of Investigations Special Agent

Jason A. Kammeraad, a copy of which is attached hereto as Exhibit 4 and incorporated as

though fully set forth herein.

                       CONCLUSION AND REQUESTS FOR RELIEF


          5.      The government submits that the defendant real properties are subject to

forfeiture to the United States of America pursuant to Title 18, United States Code, Section

981(a)(1)(A) and Title 19, United States Code, Section 1621 as property involved in money

laundering transactions or property traceable to such property. In addition, the defendant

real properties constitute proceeds or were derived from proceeds traceable to SUA, namely

health care fraud in violation of Title 18, United States Code, Section 1347, and are therefore

subject to forfeiture pursuant to Title 18, United States Code, Section 981(a)(1)(C), Title 28,

United States Code, Section 2461(c) and Title 19, United States Code, Section 1621 as

property traceable to proceeds of SUA (health care fraud).

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WHEREFORE, the United States of America respectfully requests that:


(1)      a Notice of Complaint for Forfeiture against Real Property be issued for the
         defendant real properties;

(2)      notice of this action be given to all persons known or thought to have an interest
         in or right against the defendant real properties;

(3)      a judgment be entered declaring the defendant real properties condemned and
         forfeited to the United States of America for disposition in accordance with the
         law;

(4)      the costs of this suit be paid to and recovered by the United States of America;
         and

(5)      the Court grant such other and further relief as deemed just and proper.



DATED:          October 30, 2020.

                                      JAMES P. KENNEDY, JR.
                                      United States Attorney
                                      Western District of New York


                               By:    s/GRACE M. CARDUCCI
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